                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:04cr271

UNITED STATES OF AMERICA                       )
                                               )
               vs.                             )                      ORDER
                                               )
EUGENE WILLIAM LEWIS (4)                       )
                                               )

       THIS MATTER is before the Court on its own motion. The Court previously granted

co-defendants’ motions to continue the trial of this matter which had been scheduled for the

February 6, 2006, trial term in the Charlotte Division. (Doc. No. 173: Order).

       The Court finds that the defendant’s case is “joined for trial with a co-defendant as to

whom the time for trial has not run and no motion for severance has been granted,” 18 U.S.C. §

3161(h)(7), and that failure to continue this matter would result in a miscarriage of justice. 18

U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends of justice served by taking such

action outweigh the best interest of the public and the defendants to a speedy trial.

       IT IS, THEREFORE, ORDERED, that this case as to all defendants who are pending

for trial is hereby continued to the April 3, 2006, trial term of Court in the Charlotte Division.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.
                                                   Signed: February 3, 2006




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